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                                         1:20-cv-01702-WMR
                               Keenan's Kids Foundation, Inc. v. Claggett
                                    Honorable William M. Ray, II

                         Minute Sheet for proceedings held In Open Court on 04/27/2021.


              TIME COURT COMMENCED: 1:30 P.M.
              TIME COURT CONCLUDED: 2:30 P.M.            COURT REPORTER: Wynette Blathers
              TIME IN COURT: 1:00                        DEPUTY CLERK: Jennifer Lee
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)          John Bowler representing Keenan's Kids Foundation, Inc.
         PRESENT:             Lindsay Henner representing Keenan's Kids Foundation, Inc.
                              Joseph Sharp representing Sean Claggett
         PROCEEDING
                              Motion Hearing(Motion Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED        [37]Motion to Dismiss TAKEN UNDER ADVISEMENT
         ON:
         MINUTE TEXT:    The Court conducted oral argument via Zoom video call. Defendant
                         has 10 days from tomorrow to file a counterclaim seeking
                         declaratory judgment. Plaintiff is obligated under the local rules to
                         answer any counterclaim, if Defendant chooses to file one. If
                         Defendant does not, the Court will enter an order dismissing the
                         complaint without prejudice.
         HEARING STATUS: Hearing Concluded




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